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                                       #:16816



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8      Consumer Class Action Leadership Counsel
       (Counsel for Defendants and Objector Ruth Rubin on Signature Page)
9
10                         UNITED STATES DISTRICT COURT
11
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13    In Re: KIA HYUNDAI VEHICLE                Case No.: 8:22-ML-3052 JVS(KESx)
      THEFT MARKETING, SALES
14
      PRACTICES, AND PRODUCTS                   JOINT STIPULATION REGARDING
15    LIABILITY LITIGATION                      BRIEFING SCHEDULE FOR
                                                CONSUMER CLASS PLAINTIFFS’
16
                                                SUPPLEMENTAL BRIEF
17                                              REGARDING DIMINUTION IN
                                                VALUE
18
19
20
      This document relates to:
21
      ALL CONSUMER CLASS ACTION
22    CASES
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         JOINT STIPULATION RE BRIEFING SCHEDULE FOR SUPP. BRIEF RE DIMINUTION IN VALUE
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1           The Consumer Class Plaintiffs, Defendants, and Objector Ruth Rubin
2     (collectively, the “Parties”) hereby stipulate, by and through their respective counsel, and
3     agree to the following terms:
4           1.    WHEREAS, on July 15, 2024, the Court held a hearing regarding the
5     Consumer Class Plaintiffs’ Motion for Final Approval of Class Action Settlement;
6           2.    WHEREAS, during the hearing, counsel for the Consumer Class Plaintiffs
7     offered to file a supplemental brief addressing the Court’s questions regarding alleged
8     diminution in value of the Class Vehicles;
9           3.    WHEREAS, the Court directed the Parties to meet and confer on a briefing
10    schedule for the supplemental brief;
11          NOW THEREFORE, the Parties, through their respective counsel, stipulate as
12    follows and jointly apply for an order entering the dates below:
13         a.     Consumer Class Plaintiffs’ supplemental brief regarding diminution in value
14                shall be filed by August 5, 2024;
15         b.     Responses from objectors who submitted a timely objection regarding
16                diminution in value shall be filed by August 26, 2024;
17         c.     Replies from Consumer Class Plaintiffs and Defendants shall be filed by
18                September 9, 2024; and
19         d.     If the Court determines that a further hearing is appropriate, the Parties
20                request the Court set the hearing for September 16, 2024, or on a date that
21                is convenient for the Court.
22    IT IS SO STIPULATED AND AGREED.
23    Dated: July 25, 2024               Respectfully Submitted.
24
25                                       By: /s/ Steve W. Berman
                                            Steve W. Berman, Esq.
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         JOINT STIPULATION RE BRIEFING SCHEDULE FOR SUPP. BRIEF RE DIMINUTION IN VALUE
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                                     By: /s/ Kenneth B. McClain
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                                     By: /s/ Roland Tellis
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16                                   By: /s/ Shon Morgan
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21                                   By: /s/ Thomas N. McCormick
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         JOINT STIPULATION RE BRIEFING SCHEDULE FOR SUPP. BRIEF RE DIMINUTION IN VALUE
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1                                       ECF ATTESTATION
2          I, Roland Tellis, attest that all other signatories listed, and on whose behalf the filing
3     is submitted, concur in the filing’s content and have authorized the e-filing of the
4     foregoing document in compliance with Local Rule 5-4.3.4(a)(2).
5
6                                        By: /s/ Roland Tellis
                                            Roland Tellis
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         JOINT STIPULATION RE BRIEFING SCHEDULE FOR SUPP. BRIEF RE DIMINUTION IN VALUE
